REPORT 2 OF THE COUNCIL ON SCIENCE AND PUBLIC HEALTH (June 2021)
Use of Drugs to Chemically Restrain Agitated Individuals Outside of Hospital Settings
(Reference Committee E)

EXECUTIVE SUMMARY

Objective. The term “excited delirium” (ExD) is controversial and lacks a defined set of behavioral
signs and symptoms used to identify a person in distress and in need of urgent medical or
psychiatric help. Additionally, several media reports have recently highlighted the use of ketamine
and other sedative/hypnotic agents by non-medical professionals to chemically incapacitate a
person for a law enforcement purpose, and in many cases, ExD is listed as the reason for the use of
a sedative/hypnotic agent. The Board of Trustees has requested that the Council on Science and
Public Health study the use of ketamine and chemical restraints in the context of “excited delirium”
and report back to the House of Delegates.

Methods. English-language reports were selected from a PubMed and Google Scholar search using
the text terms “excited delirium,” “delirium,” “fatalities excited delirium,” “excited delirium
restraint,” “excited delirium sedatives,” “excited delirium ketamine,” “police ketamine,” “EMS
ketamine,” and “crisis response team.” Articles were filtered based on relevance. Additional
articles were identified by manual review of the references cited in these publications. Searches of
selected medical specialty society and international, national, and local government agency
websites were conducted to identify clinical guidelines, position statements, and reports.

Results. The assessment, diagnosis, and treatment of ExD remains controversial. Despite a lack of
scientific evidence, a universally recognized definition, a clear understanding of pathophysiologic
mechanisms, or a specific diagnostic test, law enforcement and EMS personnel are taught that ExD
is a potentially deadly medical condition. Even deaths attributed to ExD have no consistent
anatomical findings, resulting in ExD diagnosis being one of exclusion, defined by epidemiology
and the subjective description of a clinical presentation. The individuals most likely to be
disproportionately identified as experiencing ExD, and to die from resulting first responder actions,
or as a consequence of administration of chemical sedation for a presumed case of ExD, are
otherwise healthy Black males in their mid-30s who are viewed as aggressive, impervious to pain,
displaying bizarre behavior, and using substances — characterizations that may be based less on
evidence and more on generalizations, misconceptions, bias, and racism. Additionally, the
identification of ExD has frequently been used in defense cases of law enforcement violence,
despite reported autopsy results listing asphyxiation as the cause of death.

Conclusion. Reviews of law enforcement agencies and EMS have been called for to evaluate the
prevalence of ketamine use in the field in unmonitored individuals and also to assess that training
and guidelines for law enforcement and EMS have been established by supervising medical and
behavioral health specialists. Such reviews are appropriate. It is important to assure that de-
escalation training be widely implemented, and that personnel are conducting themselves according
to guidelines and training to ensure patient safety. New crisis intervention team models in which
medical and behavioral health specialists, not police, are those first deployed to respond to
behavioral emergencies in the community should be encouraged. These models can help assure that
decision makers in medical and mental health emergencies who are most appropriate to the
circumstances are present with first responders, and that administration of any pharmacological
treatments in a non-hospital setting is done equitably, in an evidence-based, anti-racist, and stigma-
free way.

EXHIBIT

mee
FOO ANDUNBWN eH

mo
OOAYNYADHDMNA HWW

NNNNNWNW
ABWNRK OO

NNNN
OWA

WW
- ©

WW WW Ww Ww
NDNA HW ND

REPORT OF THE COUNCIL ON SCIENCE AND PUBLIC HEALTH

CSAPH Report 2-JUN-21

Subject: Use of Drugs to Chemically Restrain Agitated Individuals Outside of Hospital
Settings

Presented by: Kira A. Geraci-Ciardullo, MD, MPH, Chair

Referred to: Reference Committee E

BACKGROUND

Recent media reports refer to “excited delirium” in discussions about police brutality and the use of
conducted electrical devices (CED).'* The term “excited delirium” is controversial and lacks a
defined set of behavioral signs and symptoms used to identify a person perceived as in distress and
in need of urgent medical or psychiatric help. Additionally, several media reports have recently
highlighted the use of ketamine and other sedative/hypnotic agents by non-medical professionals to
chemically incapacitate a person for a law enforcement purpose and not for a legitimate medical
reason.*® In many cases, “excited delirium” is listed as the reason for the use of a sedative/hypnotic
agent. The AMA Board of Trustees has requested that the AMA Council on Science and Public
Health study the use of ketamine and chemical restraints in the context of “excited delirium” and
report back to the AMA House of Delegates.

METHODS

English-language reports were selected from a PubMed and Google Scholar search using the text
terms “excited delirium,” “delirium,” “fatalities excited delirium,” “excited delirium restraint,”
“excited delirium sedatives,” “excited delirium ketamine,” “police ketamine,” “EMS ketamine,”
and “crisis response team.” Articles were filtered based on relevance. Additional articles were
identified by manual review of the references cited in these publications. Searches of selected
medical specialty society and international, national, and local government agency websites were
conducted to identify clinical guidelines, position statements, and reports.

AMA POLICY

No current AMA policy exists related specifically to excited delirium or the use of chemical
restraints by law enforcement. AMA Policy H-515.968, “Informing the Public & Physicians about
Health Risks of Sedative Hypnotics, Especially Rohypnol,” emphasizes that Rohypnol (a
benzodiazepine), other benzodiazepines, and other sedatives and hypnotics carry the risk of misuse,
morbidity and mortality. Policy H-345.979, “Evaluation of Delirium,” supports efforts to educate
physicians regarding the importance of evaluation of delirium for high-risk patients and patients
who are symptomatic.

AMA has several polices related to de enforcement that are applicable to the topic of this report.
Policy H-65.954, “Policing Reform,” recognizes police brutality as a manifestation of structural
racism which disproportionately impacts Black, Indigenous, and other people of color, notes
AMA’s willingness to work with interested national, state, and local medical societies in a public

© 2021 American Medical Association. All rights reserved.
oR
SMANIDNABRWNK DO MADINA NH BwWNHE

NNN WN
WNre ©

NN NO
Nn Bf

NNN
\o co ~)

W uo
- ©

WWW WW WH WwW Ww
OmnynnnbW PDP

BRABAHRA
WNre ©

RADHA LHD
COON DANA LD

nn
- ©

CSAPH Rep. 2-JUN-21 -- page 2 of 17

health effort to support the elimination of excessive use of force by law enforcement officers, states
that AMA will advocate against the utilization of racial and discriminatory profiling by law
enforcement through appropriate anti-bias training, individual monitoring, and other measures, and
will advocate for legislation and regulations which promote trauma-informed, community-based
safety practices. Policy H-345.972, “Mental Health Crisis Interventions,” supports jail diversion
and community based treatment options for mental illness, implementation of law enforcement-
based crisis intervention training programs for assisting those individuals with a mental illness,
such as the Crisis Intervention Team model programs, federal funding to encourage increased
community and law enforcement participation in crisis intervention training programs, and
legislation and federal funding for evidence-based training programs by qualified mental health
professionals aimed at educating corrections officers in effectively interacting with people with
mental health and other behavioral issues in all detention and correction facilities. Policy
H-145.977, “Use of Conducted Electrical Devices by Law Enforcement Agencies,” recommends
that law enforcement departments and agencies should have in place specific guidelines, rigorous
training, and an accountability system for the use of CEDs that is modeled after available national
guidelines, encourages additional independent research involving actual field deployment of CEDs
to better understand the risks and benefits under conditions of actual use, and urges law
enforcement departments and agencies have a standardized protocol developed with the input of
the medical community for the evaluation, management and post-exposure monitoring of subjects
exposed to CEDs.

AMA has policy related to Emergency Medical Services (EMS) and prehospital patient care.
Policy H-130.976, “On-Site Emergency Care” reaffirms endorsement of the concept of appropriate
medical direction of all prehospital emergency medical services and notes that trauma management
differs markedly between locales, settings, and types of patients receiving care and for these
reasons, physician supervision of prehospital services is essential to ensure that the critical decision
to resuscitate in the field or to transfer the patient rapidly is made swiftly and correctly. Policy
H-160.949, “Practicing Medicine by Non-Physicians” opposes allowing non-physician groups to
engage in the practice of medicine without physician (MD, DO) training or appropriate physician
(MD, DO) supervision and supports the requirement of appropriate physician supervision of non-
physician clinical staff in all areas of medicine. Policy H-130.937, “Delivery of Health Care by
Good Samaritans” notes that bystander physicians should recognize that prehospital EMS systems
operate under the authority and direction of a licensed EMS physician, who has both ultimate
medical and legal responsibility for the system.

Ethical Opinion 1.2.7, “Use of Restraints,” states that all individuals have a fundamental right to be
free from unreasonable bodily restraint. At times, however, health conditions may result in
behavior that puts patients at risk of harming themselves. In such situations, it may be ethically

‘ justifiable for physicians to order the use of chemical or physical restraint to protect the patient.

Except in emergencies, patients should be restrained only on a physician’s explicit order. Patients
should never be restrained punitively, for convenience, or as an alternate to reasonable staffing.
Physicians who order chemical or physical restraints should: (a) Use best professional judgment to
determine whether restraint is clinically indicated for the individual patient. (b) Obtain the patient’s
informed consent to the use of restraint, or the consent of the patient’s surrogate when the patient
lacks decision-making capacity. Physicians should explain to the patient or surrogate: (i) why
restraint is recommended; (ii) what type of restraint will be used; (iii) length of time for which
restraint is intended to be used. (c) Regularly review the need for restraint and document the review
and resulting decision i the patient’s medical record. In certain limited situations, when a patient
poses a significant danger to self or others, it may be appropriate to restrain the patient
involuntarily. In such situations, the least restrictive restraint reasonable should be implemented
and the restraint should be removed promptly when no longer needed.
DRO es
SFOMWANDMNBWNKY DO WMNINADANABRwWbw e

NNN
WN Re

WWNNNNN WY
FP OOmMANDAN SD

Wo Ww
WN

WWW WwW
NYNDUWN HL

Wo Lo
\o oO

BAAADAHRAAAL
OMANI NDABRWNKY OS

CSAPH Rep. 2-JUN-21 -- page 3 of 17

EXCITED DELIRIUM

Delirium is a well-defined clinical entity with both hypoactive and hyperactive manifestations,
commonly caused by an underlying medical condition and not associated with sudden death. The
term “excited delirium” (ExD) has been used since the 1980s to refer to a subcategory of delirium
that has primarily been described in forensic literature and the term “excited delirium syndrome”
(ExDS) was originally used in the forensic literature to describe findings in a subgroup of patients
with ExD who suffered lethal consequences from untreated severe agitation. Currently, ExD and
ExDS are used interchangeably in literature and media.

History

In 1849, the lead psychiatrist at McLane Asylum for the Insane introduced a condition synonymous
to ExD into medical literature as “Bell Mania.” The term “excited delirium” first emerged in 1985
from two University of Miami professors who set out to explain a new phenomenon of sudden
deaths, mostly in police custody, of otherwise healthy men under the influence of a non-lethal
amount of cocaine.*” Soon after, the term gained academic traction, as the United States saw a
dramatic rise in use of cocaine and other sympathomimetic substances along with increased efforts
to deinstitutionalize patients with chronic mental illness.'° Currently, ExD and ExDS are referred to
as conditions of illness marked by a combination of autonomic hyperadrenergic dysfunction,
agitation, and delirium. The purported root of ExD, involving psychiatric, neurologic, and
metabolic imbalance, is highly variable and linked to a complicated array of co-morbid and severe
health issues.!!

Historically, the concept of ExD was synonymous with death, but over time the term has made its
way into the emergency medicine, psychiatric, law enforcement, prehospital, and medicolegal
literature to generally describe patients displaying altered mental status with severe agitation and
perceived combative or assaultive behavior that has eluded a unifying, prospective clinical
definition. Studies have failed to define ExD as one specific clinical entity, and it remains without a
plausible biological pathway to sudden death. Multiple published series highlight that when CEDs
and/or police restraints are used, ExD most often becomes fatal.!*'7 CSAPH Report 6-A-09, Use of
Tasers® by Law Enforcement Agencies, included a very brief paragraph on ExD and notes that
ExD is not a validated diagnostic entity in either the World Health Organization’s International
Classification of Diseases or the Diagnostic and Statistical Manual of Mental Disorders, but is
widely accepted in forensic pathology and is cited by medical examiners to explain the sudden in-
custody deaths of individuals who are combative and highly agitated.'®

Pathophysiology

Although it is extensively used in academic and medical literature, considerable debate exists in
medicine about how to characterize ExD and ExDS, if they even exist, and how ExD contributes to
sudden death. The pathophysiologic mechanisms of ExD have not been elucidated and ExD does
not currently have a known etiology.!*!°?! However, ExD has been characterized in the literature
by delirium, agitation, acidosis, and hyperadrenergic autonomic dysfunction, typically in the setting
of drug use or serious mental illness or a combination of both.'! Currently, a general function of the
sympathetic nervous system is associated with the listed clinical manifestations of ExD, with
possible nervous system dysfunction in some way inciting symptoms. While some authors correlate
elevated synaptic dopamine levels to ExD, its causes are yet to be discovered and the absence of a

22-24

unique pathophysiologic. cause or specific diagnostic test remains.’”?
RO i i
SFOMmMryAIaANDWNKF DO MANA UN BRwWPY

NNNNNNNN LD
OmMANADNBWNe

W Wo
- ©

WWW WWW Ww Ww
OANA NA BW Pb

AunbDhRHRHRHRADRA LA
rr OO NYNDABWNY OS

CSAPH Rep. 2-JUN-21 -- page 4 of 17

No consistent anatomical features define ExD. Due to the biological ambiguity in diagnosing ExD,
postmortem findings from autopsy and forensic evidence collection to identify or support ExD are
unlikely, and a postmortem diagnosis of ExD is one of exclusion.®!77>6 Because ExD does not
currently have a known specific etiology or a consistent anatomic feature, it can only be explained
by its epidemiology and described clinical presentation.”

Epidemiology

Studies have shown that delirium occurs in between 11 and 42 percent of general medical
inpatients and 50 percent of elderly hospitalized patients. This figure is even greater for those with
pre-existing cognitive impairments, terminal illness, or in need of intensive care.”’ Patients
diagnosed with delirium are found to have extended stays in the hospital by five to ten additional
days, and are more likely to be transferred to a long-term care facility post-release.”8

Those who are most likely to be identified as having ExD are men, with 83 to 95 percent of ExD
cases occurring in this population.”* Otherwise healthy males in their mid-30s who are seen as
“aggressive, impervious to pain, and display bizarre behavior” have the highest rate of mortality
from ExD/ExDS."° Despite similar rates of drug use across race and ethnicity in the United States,2°
epidemiological studies show that it is specifically and disproportionately younger Black men who
use cocaine and other psychostimulants and are in police custody that are at highest risk for death
from ExD/ExDS.**°3! Mortality rates associated with ExD/ExDS have been reported to be
between 8 to 16.5 percent.!!74.3?

LAW ENFORCEMENT, EMS, AND EXCITED DELIRIUM

Because of its reference in forensic literature, law enforcement groups and EMS have started
training staff to identify ExD as a potentially deadly medical condition, despite the absence of a
unique pathophysiologic cause or specific diagnostic test.*4 ExD often presents itself as a
behavioral issue initially evaluated by law enforcement with subsequent EMS involvement.!!5
Additionally, the identification of ExD/ExDS has been frequently used in defense cases of police
violence.**° Some of the cases in which ExD has been invoked in defending the deaths of people,
all Black, in police custody include Natasha McKenna,'* Manuel Ellis,” Elijah McCain,° George
Floyd,’ and Daniel Prude.!

The prevalence of ExD appears to vary widely, both because of varying definitions and context.
Reports estimate that ExD is in question in more than 3 percent of police interventions that use
force and more than 10 percent of the deaths that occur within law enforcement custody are
associated with ExD.™ Reports also note that between 38 and 86 percent of all fatal ExD cases
occur in police custody” and that law enforcement officers encounter one person with ExD in
every 58 use of force incidents.”* In cases of suspected ExD, law enforcement officers are
encouraged to contact EMS personnel; the combined effort of EMS and law enforcement to
provide effective care to those with ExDS has been termed the “dual response.”*?*4 Training for
EMS personnel states that treatment of ExDS must be focused on rapidly, safely, and effectively
sedating the patient and providing intensive, supportive care.*’

Since ExD lacks a consensus clinical definition and few pathophysiological findings exist about the
condition, wrongly characterizing symptoms as ExD, especially by law enforcement with little
medical knowledge, frequently leads to additional and potentially fatal medical complications
including hypoxia.'”**“° The profile of a death attributed to ExD is usually a sudden, unexpected
one that occurs most frequently in the summer.*! It usually occurs immediately following chemical
or physical restraint to control ExD and occurs most frequently when the patient is in the prone
ROO i
SFPOMDWIANDNBWNKF DO WMNIDAWBRWNPHE

NNN NY
BRwWN Ke

NNN NH
CONN

WN
oo

Q
_

WW WWW WD Ww Ww
OO NN BW bP

ARS
- ©

AwnbHDHAA HAL
FOUOWmWAIA NA HBWP

CSAPH Rep. 2-JUN-21 -- page 5 of 17

position; both chemical restraints and CEDs have been cited to result in sudden death due to
ExD.!>'" An FBI Law Enforcement Bulletin article discussing ExD describes it as “a serious and
potentially deadly medical condition involving psychotic behavior, elevated temperature and an
extreme flight-or fight response,” and notes that “these patients often die within 1 hour of police
involvement.”??

Studies have evaluated the factors associated with death attributed to ExD in police custody and the
confounding effect that restraint has on the risk of death. Results have indicated that a diagnosis of
ExD and potentially fatal restraint are “inextricably interwoven.”*?** Some form of restraint was
described in 90 percent of all ExD deaths, making it the most common factor that is a plausible
cause or contributing cause of the death. Authors note that there is no evidence to support ExD asa
cause of death in the absence of restraint.** The reported autopsy results for the individuals
referenced above, in which law enforcement officers cited ExD as the cause of death provide
examples of this: in the death of Natasha McKenna, “excited delirium,” was noted although a stun
gun was utilized 4 times resulting in loss of consciousness;" the death of Elijah McClain was
“undetermined,” although carotid hold and excessive restraint were utilized;? the death of Manuel
Ellis was reported as “hypoxia due to physical restraint;”’ George Floyd died from “asphyxia due
to neck and back compression;”? and Daniel Prude’s death was due to “complications of asphyxia
in the setting of physical restraint.”

While the mortality rate associated with ExD is estimated to be between 8 and 16.5 percent,!!74?
in the past three decades, a significant decrease in restraint-related deaths of those with ExD has
been noted. The period from 2004 to 2011 shows a 33 percent reduction in fatalities from ExD
compared to the period 1988 to 1995; authors comment that the decrease is likely due to an
increase in warnings and repeated recommendations concerning the association between restraint,
especially in a prone position and fatal ExD.** However, little information related to the specific
details of law enforcement or EMS training related to ExD could be located.

CHEMICAL RESTRAINT

A chemical restraint is when a drug is used to restrict the movement of a patient or in some cases to
sedate a patient. Chemical restraint is used in emergency, acute, and psychiatric medical settings to
reduce agitation, aggression, or violent behaviors. Drugs that are often used as chemical restraints
include benzodiazepines, antipsychotics, and dissociative anesthetics. However, no drugs are U.S.
Food and Drug Administration (FDA) approved for use as chemical restraints. The long history of
restraint and associated controversies of the use of restraints (physical, mechanical, and chemical)
in patients is outside of the scope of this report.

Drugs Used as Chemical Restraints

Medications that are typically used for chemical restraint include the dissociative ketamine,
benzodiazepine sedatives such as midazolam, and antipsychotic medications including olanzapine
or haloperidol, both alone or in combination.

Studies over the last several years have evaluated and compared the efficacy of sedation for several
medications used for chemical restraint, as well as adverse effects associated with them.***? A
recent systematic review summarizes available evidence on the effectiveness and safety of
chemical restraint from 21 randomized contfolled trials conducted in pre-hospital, hospital
emergency department, or ward settings and notes limited comparability between studies in drug
choice, combination, dose, method of, or timing of repeat administrations. Drugs used in chemical
restraint and included in the review include olanzapine, haloperidol, droperidol, risperidol,
ROR i ed
SFCOWAANDMNBRWNKYKDOWMANDAUNAwWHNHE

NNNNNN WH
NYDN BWN EE

WWN Nd
re © OO CO

WWW WWW WwW Ww
OMANDNABWN

AnNbHDHDAHLAAA A
FOUOWMWANANAMNBWNK OS

CSAPH Rep. 2-JUN-21 -- page 6 of 17

flunitrazepam, midazolam, promethazine, ziprasidone, sodium valproate, or lorazepam. The review
notes little clarity about the superiority of any of the drugs and recommends additional research on
the topic.©°

Because sedation with slower-onset chemical restraints, such as haloperidol and some
benzodiazepines present a risk of delay to adequate sedation, ketamine has emerged as a potentially
preferred drug for the control of patient agitation in a pre-hospital context and for a law
enforcement purpose.*°3”7?05!->4 Although little literature exists directly reporting the frequency of
EMS use, authors note that this medication could easily be implemented into out-of-hospital
protocols and that ketamine offers a “safe and effective method of controlling the severely agitated

patient.’3537
Ketamine

Ketamine is FDA approved for use as an anesthetic agent for diagnostic and surgical procedures
and esketamine (a pure ketamine stereoisomer) is FDA approved for treatment-resistant depression.
Ketamine and esketamine are classified as Schedule III controlled substances.

Ketamine is commonly used off-label in medical settings as an analgesic, antidepressant, and anti-
inflammatory medication. No FDA-approved indication for use to treat ExD exists, which is
understandable given that there is no medical consensus on definitions of or diagnostic criteria for
ExD. Therefore, no standard dosing regimen has been established and there has been no
consideration of co-morbid medical conditions for ketamine use for ExD. A rapidly growing
movement calls for expanded use of ketamine for several applications, both in and out of the
hospital, including for sedation of agitated patients in non-clinical situations and for restraint in
custody.*>>

Ketamine Use as a Chemical Restraint by Law Enforcement and EMS

Police officers and EMS professionals are the most likely first responders to encounter agitated
patients exhibiting what they might consider to be symptoms of ExD. While law enforcement
usually evaluates this syndrome, it is usually EMS personnel who provide the sedation, in the “dual
response” model. While several chemical restraints are used to sedate those purportedly
experiencing ExD within law enforcement custody and in EMS contexts, most commonly the
sedative is ketamine. Authors report that the use of ketamine for restraint of an agitated patient
induces rapid, predictable sedation within three to four minutes when given by intramuscular
injection.2”74-5°

A recent national survey assessed ketamine training, use, and perceptions among paramedics in
civilian prehospital settings. The survey noted that training related to ketamine use was commonly
reported among paramedics, however, few are authorized to administer the drug according to their
agency protocol. Of those paramedics authorized to use ketamine, most had limited experience
administering the drug, but have the perception that the use of ketamine for sedation is safe and
effective.*? Dosing guidelines, safety profile, and efficacy have been described in only a limited
fashion for the use of ketamine to chemically restrain a patient in a pre-hospital scenario.°!

Many police departments have seen a dramatic rise in ketamine administration over the past several
years. As an example, a 2018 City of Minneapolis report “MPD Involvement in Pre-Hospital
Sedation” documented an average of 4 cases of ketamine use per year prior to 2015, 14 uses in
2015, and 62 instances in 2017.°’ From January 2018 through April 2018, 11 instances of ketamine
use were documented in police reports, exceeding the annual use in each year from 2010-2014.”
ROR i es
SOAAYDHDNNBPWNK TOWANDA UNBRWWHPHK

BRHAHA HA SD WW W WW W WH WH WH WD :
SRGABRONESGoenmAGaRoONDeE SS RBYRRBRBNN

CSAPH Rep. 2-JUN-21 -- page 7 of 17

Additionally, the report from Minneapolis presented 8 cases that occurred between 2016 and 2018
in which EMS professionals and Minneapolis Police Department (MPD) officers cooperated in
order to administer ketamine. These cases involved instances in which the police officers, with
limited medical training, directed EMS professionals to use ketamine.*’ A recent investigation of
the death of Elijah McCain in Colorado determined that the use of ketamine contributed to his
death.**

Little information related to the specific details of law enforcement or EMS training related to the
use of ketamine or other chemical restraints could be located. Reviews of law enforcement
agencies and EMS have been called for to evaluate the prevalence of ketamine use in the field in
unmonitored individuals and to assess that training and guidelines have been established by
supervising medical and behavioral health specialists, are appropriate, include de-escalation
training, and personnel are conducting themselves according to guidelines and training to ensure
patient safety.**°7°* Additionally, agencies currently using ketamine for sedation of agitation are
encouraged to report their outcomes and protocols to increase the body of evidence and determine
best safe practices for this indication.*

Ketamine Pharmacology in Pre-hospital Contexts

Ketamine dose dependently exerts broad influences on consciousness and perception, with some
patients reporting dissociative and extracorporeal sensations. The most common psychoactive
effects reported after a single subanesthetic intravenous administration of ketamine include
dissociation, positive psychotomimetic effects (conceptual disorganization, hallucinations,
suspiciousness, unusual thought content, and frank paranoia), and negative psychotomimetic
effects (blunted affect, emotional withdrawal, and psychomotor retardation). In addition, studies
have identified unfavorable effects of administration of ketamine on cognition (including amnesia),
vestibular perturbations, nausea/vomiting, tachycardia, hypertension, palpitations, hypersalivation,
and respiratory depression. Ketamine has also been found to have negative interactions with
alcohol in intoxicated individuals and those taking MAO inhibitors, which is of concern because
when ketamine is used by EMS in out-of-hospital settings, individuals may be under the influence
of alcohol, cannabis, sedative-hypnotics, or other psychoactive drugs or under medical treatment
with a pharmaceutical with potential adverse drug-drug interactions with ketamine.**°?"?

Because of the ketamine dose-response and side effects, careful administration and medical
expertise is necessary, especially in non-medical and non-hospital contexts.'’**° In general, the
duration of sedation should only be long enough to allow for patient assessment, initial treatment,
and transfer to a medical facility; restraint beyond this timeframe may induce additional medical
complications. Ketamine dosing is dependent on a person’s body weight, with a reported standard
dosing of 5mg per kilogram of bodyweight starting at 250 mg for pre-hospital treatment.44°!.
Because of this weight dosing requirement, incorrect dosing of ketamine by law enforcement or
EMS can and has led to serious adverse events or death.** A recent investigation of the death of
Elijah McClain in Aurora, Colorado found that an incorrect estimation of weight for a weight-
based dose calculation contributed to his death.** Additionally, several studies have reported that
while ketamine provides rapid sedation for agitated patients, its use in a pre-hospital setting is
associated with higher intubation and hospital admission rates when used by

EMS. 358:48.51,54,60,62,65,66 Studies have also linked the use of ketamine to death from metabolic

acidosis.°”-
DRO i ep ip
TFPSOANYNDNABWNKY DO WONIYADAWRWPNHE

NNN
Whe

NNNNN WN
OMmANANINN HL

WwW Ww
- ©

WW WWW Ww WwW Ww
OWA NMN HW PD

AnbDPHHRADBDALA LA
FKBOUOMDIADRBHONHHES

CSAPH Rep. 2-JUN-21 -- page 8 of 17

CRISIS INTERVENTION TEAM PROGRAMS

Crisis Intervention Team programs (CITs) are community partnerships of law enforcement,
behavioral health providers, people with mental and substance use disorders, along with their
families and others. CITs have become a globally recognized model for safely and effectively
assisting people who experience crises in the community. The Substance Abuse and Mental Health
Services Administration (SAMHSA) notes that the need for CIT programs is urgent, as
communities are challenged with insufficient mental health funding and services.”” Advocates of
CITs, including the National Alliance on Mental Illness (NAMI), note that the programs can reduce
police encounters and arrests of people with mental illness while simultaneously increasing the
likelihood that individuals will receive mental health services.’!-”? Additional goals of CITs include
improving police responses to people in crisis; diverting individuals from the criminal justice
system when appropriate; and developing more robust community-based crisis-response systems
that minimize both the role of law enforcement and the need to utilize emergency departments.” A
foundational aspect of successful CITs is a strong and ongoing community partnership.”

CITs promote both law enforcement officer safety and the safety of the individual in crisis. NAMI
notes that CITs give law enforcement officers more tools to do their job safely and effectively and
promotes the expansion of CITs nationwide, providing resources and working with stakeholders to
establish standards and promote innovation for CITs.”? While law enforcement agencies have a
central role in program development and ongoing operations, a continuum of crisis services
available to citizens prior to police involvement is core to the model. SAMHSA notes that for
safety and optimal engagement, two person CIT teams should be put in place to support
communities and EMS should be aware of the teams and partner as warranted. SAMHSA guides
also note minimum expectations for CITs, including the involvement of a licensed and/or
credentialed behavioral health clinician, response to where the person in need is located, and
connecting the individual to appropriate care, with a warm hand-off and coordinated transportation.
SAMHSA guides and CIT International, the leading national organization promoting successful
CIT models, detail best practices for CIT services’*”° and experts have documented and noted
challenges for rural communities.””

The Denver Support Team Assisted Response program (STAR), which has been operational for six
months, is an example of a CIT. STAR pairs a mental health clinician and a paramedic to address
low-level incidents, such as trespassing and mental health episodes, that would have otherwise
fallen to uniformed law enforcement officers carrying firearms. In its first six months, STAR has
responded to 748 incidents, none of which required police or led to arrests or jail time.”*””

Officials note that “STAR represents a more empathetic approach to policing that keeps people out
of an often-cyclical criminal justice system by connecting people with services like shelter, food
aid, counseling, and medication. The program also deliberately cuts down on encounters between
uniformed officers and civilians.” The STAR policing alternative empowers behavioral health
experts to dictate patient interactions, even when police officers are around, and has been hailed as
a success in local Denver communities.”*”? Many communities around the United States are
exploring alternatives to incarceration and law enforcement response to minor incidents.

NATIONAL ASSOCIATION POSITIONS

The Atherican Psychiatric Association (APA) released a position statement in 2020 related to ExD
and the use of ketamine. APA does not recognize ExD as a mental disorder and states that the term
should not be used until a clear set of diagnostic criteria are validated. APA notes that persons
being detained by the police and described as having ExD have frequently received medication
NR Re Re i i ee ss
SFOAWNINNDNABRWNF DO WNIDWNARwWPHYE

ANnNbHDHDHPABRDADA BAA WW WWW WW www N

CSAPH Rep. 2-JUN-21 -- page 9 of 17

from EMS personnel intended to chemically sedate them, without a medical condition warranting
the use of the drug. The APA statement further cautions that chemical sedation medications,
including ketamine, used outside of hospital contexts have significant risks, including respiratory
suppression. APA also states that an investigation should be undertaken of cases labeled as ExD,
that all relevant data be analyzed for disproportionate application of the term, and that all
jurisdictions should develop, implement, and routinely update evidence-based protocols for the
administration of chemical restraint medications.®*°

The American College of Emergency Physicians (ACEP) recognizes ExD as a medical condition
and notes that the exact pathophysiology of ExD remains unidentified.''**! In articles on the topic,
ACEP representatives note that a large component of treating patients is helping law enforcement
and EMS recognize possible ExDS patients, and that prehospital ExDS should be presumed if a
patient is disoriented or not making sense, constantly physically active, impervious to pain, has
superhuman strength, is sweating and breathing rapidly, has tactile hyperthermia, and fails to
respond to a police presence. ACEP experts have also advocated that chemical sedation, with
ketamine or benzodiazepines, is a first-line treatment.*?*!

In a 2020 statement, ACEP and the American Society of Anesthesiologists (ASA) discussed the
safe use of ketamine in the emergency department and in prehospital care for effective pain
management, sedation, the control of delirium in acute psychotic emergencies and drug
intoxications. ACEP and ASA noted the dependence on an appropriate medical assessment by a
paramedic with medical direction. The statement notes firm opposition to the use of ketamine or
any other sedative/hypnotic agent to chemically incapacitate someone solely for a law enforcement
purpose and not for a legitimate medical reason.*”

The American College of Medical Toxicologists (ACMT) hosts educational information related to
ExD and ExDS, including definitions, signs and symptoms, and treatment with chemical
support/sedation.® In a statement released in 2020, ACMT recognized ExD as a condition that
warrants consideration of the decision to administer sedating medications. Based on current
evidence, ACMT supports the use of sedative and dissociative medications by appropriately trained
prehospital paramedical professionals for treatment of severe agitation when other measures have
failed, but ACMT does not support the use of these medications solely for the purpose of behavior
control on behalf of law enforcement.**

In 2020, ACMT, the American Society of Addiction Medicine (ASAM), and the Opioid Response
Network (ORN) co-hosted an Addiction Toxicology Case Conference on the topic of intoxication
and ExD.*° The webinar, for continuing medical education credit, featured “discussion of drug-
induced agitated delirium with experts dissecting the mechanism and common course of events that
occur in the most severe type of agitated delirium, often referred to as Excited Delirium Syndrome.
Myths and misperceptions in care of patients with agitation and delirium [were] addressed, as [was]
discussion of the appropriate use of sedation...”

The National Association of EMS Physicians (NAEMSP) recognizes that EMS personnel often
encounter agitated and combative patients, and these patients frequently require clinical treatment
and transportation. A 2016 statement details the NAEMSP position on a several issues related to
patient restraint. Notably, NAEMSP believes that EMS agencies should develop scientific
protocols for dealing with violent or combative patients, that EMS agencies must assure that all
personnel are knowledgeable about the clinical conditiohs that are associated with agitated or
combative behavior and are trained to apply the principles of the system’s restraint protocol during
patient care. The NAEMSP position statement provides significant details about restraint protocols,
notes the use of chemical restraint for ExD, and that chemical restraint, usually with a
ROR ee ep
CFCOUAAYNADMABWNKF DO WANA UNBRwWPOHY

NNNNN LN
NNnBWNe

WNN NWN
o;W ON

Ww
e

WW
WN

WWW WW Ww
OmMANDAUN DA

AR
- ©

BB
WN

CSAPH Rep. 2-JUN-21 -- page 10 of 17

butyrophenone, a benzodiazepine, ketamine or other dissociative agents, or a combination of these
agents, is an effective and safe method of protecting the violent or combative patient from self-
injury. Importantly, the NAEMSP notes that local law enforcement restraint policies/practices may
differ from EMS-based restraint protocols, but both agencies should recognize their roles and work
cooperatively and proactively to ensure the safe care of patients when application of restraint(s) is
necessary.*°

CONCLUSION

The assessment, diagnosis, and treatment of ExD remains controversial. Despite a lack of scientific
evidence, a universally recognized definition, a clear understanding of pathophysiologic
mechanisms, or a specific diagnostic test, law enforcement and EMS personnel are taught that ExD
is a potentially deadly medical condition — including at time, by physicians. Even deaths attributed
to ExD have no consistent anatomical findings, resulting in ExD diagnosis being one of exclusion,
defined by epidemiology and the subjective description of a clinical presentation. The individuals
most likely to be disproportionately identified as experiencing ExD, and to die from resulting first
responder actions, or as a consequence of administration of chemical sedation for a presumed case
of ExD, are otherwise healthy Black males in their mid-30s who are viewed as aggressive,
impervious to pain, displaying bizarre behavior, and using substances — characterizations that may
be based less on evidence and more on generalizations, misconceptions, bias, and racism.
Additionally, the identification of ExD has frequently been used in defense cases of law
enforcement violence, despite reported autopsy results listing asphyxiation as the cause of death.

While chemical restraint is used in emergency, acute, and psychiatric medical settings to reduce
agitation, aggression, or violent behaviors, a rapidly growing movement calls for expanded use of
chemical restraint, specifically using ketamine, for several applications, both in and out of the
hospital, including for sedation of agitated patients in non-clinical situations and for chemical
restraint of persons in law enforcement custody. Police officers and EMS professionals are the
most likely first responders to encounter patients perceived to be exhibiting purported ExD. While
law enforcement usually evaluates this syndrome, it is usually EMS personnel who provide the
sedation, in the “dual response” model.

Reviews of law enforcement agencies and EMS have been called for to evaluate the prevalence of
ketamine use in the field in unmonitored individuals and to assess that training and guidelines have
been established by supervising medical and behavioral health specialists. Such reviews are
appropriate. It is important to assure that de-escalation training be widely implemented, and that
personnel are conducting themselves according to guidelines and training to ensure patient safety.
New CIT models in which medical and behavioral health specialists, not police, are those first
deployed to respond to behavioral emergencies in the community should be encouraged. These
models can help assure that decision makers in medical and mental health emergencies who are
most appropriate to the circumstances are present with first responders, and that administration of
any pharmacological treatments in a non-hospital setting is done equitably, in an evidence-based,
stigma-free way.
oR
SAAINDMNABRWNKY DOMNINA WN ARWNWH Ye

NNN NWN
WNrF ©

WNNNNN WD
CSC OMONDMN

Ww
—

WWW WWW WD Ww
OMWANNANA HRW PD

ABR
— ©

BABA HDA DAA
OMNIA ABW PD

Nn
So

CSAPH Rep. 2-JUN-21 -- page 11 of 17

RECOMMENDATION

The Council on Science and Public Health recommends that the following be adopted and the
remainder of the report be filed:

1.

That the following new AMA policy be adopted:

Use of Drugs to Chemically Restrain Agitated Individuals Outside of Hospital Settings
Our American Medical Association:

1.

Believes that current evidence does not support “excited delirium” or “excited delirium
syndrome” as a medical diagnosis and opposes the use of the terms until a clear set of
diagnostic criteria are validated;

Is concerned about law enforcement officer use of force accompanying “excited
delirium” that leads to disproportionately high mortality among communities of color,
particularly among Black men, and denounces “excited delirium” solely as a
Justification for the use of force by law enforcement officers.

Opposes the use of sedative/hypnotic agents, including ketamine, to chemically
restrain an individual solely for a law enforcement purpose;

Recognizes that drugs for chemical restraint used outside of a hospital setting by non-
physicians have significant risks intrinsically, in the context of underlying medical
conditions, and also related to potential drug-drug interactions with agents the
individual may have taken;

Calls for comprehensive reviews, performed by independent investigators including
appropriate medical and behavioral health professionals, of law enforcement agencies
and emergency medical service agencies to:

a. Investigate any cases labeled as “excited delirium” for disproportionate
application of the term, including prevalence of its use by race, ethnicity,
gender, age, and other demographic factors;

b. Evaluate the prevalence of ketamine use in the field in unmonitored
individuals;

c. Assess that training and guidelines have been properly established by
supervising medical and behavioral health specialists, are appropriate, and
include de-escalation training; and

d. Assess, on an ongoing basis, that personnel are conducting themselves
according to guidelines and training to ensure patient safety; and

Urges law enforcement and emergency medical service personnel to participate in
appropriate training that minimally includes de-escalation techniques and the
appropriate use of drugs used to restrain individuals; and

Urges medical and behavioral health specialists, not law enforcement, to serve as first
responders and decision makers in medical and mental health emergencies in local
communities and that administration of any pharmacological treatments in a non-
hospital setting! be done equitably, in an evidence-based, anti-racist, and stigmd free
way.

(New HOD Policy)
bet
SWANN BWNK DOMAIN DUNARWWwH HY

CSAPH Rep. 2-JUN-21 -- page 12 of 17

That Policy H-65.954, “Policing Reform,” which recognizes police brutality as a
manifestation of structural racism which disproportionately impacts Black, Indigenous, and
other people of color, notes AMA’s willingness to work with interested national, state, and
local medical societies in a public health effort to support the elimination of excessive use
of force by law enforcement officers, states that AMA will advocate against the utilization
of racial and discriminatory profiling by law enforcement through appropriate anti-bias
training, individual monitoring, and other measures, and will advocate for legislation and
regulations which promote trauma-informed, community-based safety practices, be
reaffirmed. (Reaffirm Current AMA Policy)

That Policy H-345.972, “Mental Health Crisis Interventions,” which supports jail diversion
and community based treatment options for mental illness, implementation of law
enforcement-based crisis intervention training programs for assisting those individuals with
a mental illness, such as the Crisis Intervention Team model programs, federal funding to
encourage increased community and law enforcement participation in crisis intervention
training programs, and legislation and federal funding for evidence-based training
programs by qualified mental health professionals aimed at educating corrections officers
in effectively interacting with people with mental health and other behavioral issues in all
detention and correction facilities, be reaffirmed. (Reaffirm Current AMA Policy)

Fiscal Note: Less than $1000
CSAPH Rep. 2-JUN-21 -- page 13 of 17

REFERENCES

1.

12.

13.

14.

15.

16.

Ashley P. What to Know About Daniel Prude’s Death. The New York Times.
https://www.nytimes.com/2020/09/04/nyregion/rochester-daniel-prude.html. Published
September 4, 2020. Updated Oct 9, 1010. Accessed January 4, 2021.

Q13 Fox Seattle. Video shows officer take Manuel Ellis to the ground in a chokehold during
struggle with police. https://www.q13fox.com/news/video-shows-officer-take-manuel-cllis-to-
the-ground-in-a-chokehold-during-struggle-with-police. Published June 17, 2020. Accessed
January 4, 2021.

Santo A. As George Floyd Died, Officer Wondered About “Excited Delirium”. The Marshall
Project. https://www.themarshallproject.org/2020/06/04/as-george-floyd-died-officer-
wondered-about-excited-delirium. Published June 4, 2020. Accessed January 4, 2021.

O'Hare M, Budhu J, Saadi A. Police keep using ‘excited delirium’ to justify brutality. It’s junk
science. https://www.washingtonpost.com/outlook/chokehold-police-excited-
delirium/2020/07/17/fe907ec8-c6be- 1 1ea-b037-f971 1f89ce46_story.html. Published July 17,
2020. Accessed January 4, 2021.

Elijah McClain case: Death after arrest by Colorado police receiving renewed attention. ABC 7
Eyewitness News Colorado. https://abe7.com/elijah-mcclain-mccain-colorado-police-death-
aurora/6266195/. Published June 25, 2020. Accessed January 4, 2021.

Mannix A. At urging of Minneapolis police, Hennepin EMS workers subdued dozens with a
powerful sedative. https://www.startribune.com/at-urging-of-police-hennepin-emts-subdued-
dozens-with-powerful-sedative/48560738 L/. Published June 15, 2018. Accessed February 18,
2021.

Bell L. On a form of disease resembling some advanced stages of mania and fever, but so
contradistinguished from any ordinary observed or described combination of symptoms as to
render it probable that it may be overlooked and hitherto unrecorded malady Am J Insanity.
1849(6):97-127.

Wetli CV, Fishbain DA. Cocaine-induced psychosis and sudden death in recreational cocaine
users. J Forensic Sci. 1985;30(3):873-880.

Meyer M. Police Call it "Excited Delirium." Civil Rights Groups Call It a Sham. Harvard Civil
Rights - Civil Liberties Law Review. https://harvardercl.org/police-call-it-excited-delirium-
civil-rights-groups-call-it-a-sham/. Published November 15, 2019. Accessed January 4, 2021.

. Sekhon S, Fischer M, Marwaha R. Excited Delirium. StatPearls.

https://www.ncbi.nlm.nih.gov/books/NBK546674/. Published Novermber 29, 2020. Accessed
January 4, 2021.

. Vilke GM, DeBard ML, Chan TC, et al. Excited Delirium Syndrome (ExDS): defining based

on a review of the literature. The Journal of emergency medicine. 2012;43(5):897-905.
Balaban E. How officials use a dubious medical condition to explain stun gun deaths. The
Guardian. https://www.theguardian.com/commentis{ree/20 15/sep/17/dubious-medical-
condition-stun-gun-deaths. Published September 17, 2015. Accessed January 4, 2021.
Balaban E. Cops and Guards Getting Away With Murder (Taser Edition). ACLU Blog.
https://www.aclu.org/blog/prisoners-rights/cops-and-guards-getting-away-murder-taser-
edition. Published September 17, 2015. Accessed January 4, 2021.

Bidgood J. Virginia Sheriff Releases Video of Effort to Subdue Inmate Who Died. The New
York Times. https://www.nytimes.com/2015/09/1 1/us/virginia-sheriff-releases-video-of-effort-
to-subdue-inmate-who-died.html. Published September 10, 2015. Accessed January 4, 2021.
Grant JR, Southall PE, Mealey J, Scott SR, Fowler DR. Excited delirium deaths in custody:
past and present. Am J Forensic Med Pathol. 2009;30(1):1-5.

O'Halloran RL, Lewman LV. Restraint asphyxiation in excited delirium. Am J Forensic Med
Pathol. 1993;14(4):289-295.

17.

18.

19.

20.

21.

22.

235

24.

25.

26.

2d.

28.

29.

30.

31.

32.

33.

34.

35.

36.

CSAPH Rep. 2-JUN-21 -- page 14 of 17

Pollanen MS, Chiasson DA, Cairns JT, Young JG. Unexpected death related to restraint for
excited delirium: a retrospective study of deaths in police custody and in the community.
CMAJ : Canadian Medical Association journal = journal de l'Association medicale
canadienne. 1998;158(12):1603-1607.

Council on Science and Public Health. Use of Tasers by Law Enforcement Agencies. American
Medical Association; June 2009. 6-A-09.

Paquette M. Excited delirium: does it exist? Perspect Psychiatr Care. 2003;39(3):93-94.
Holstege C. Emerging Illicit Drug Trends and Appropriate EMS Management.
https:/Avww.vdh.virginia.gov/content/uploads/sites/23/2016/05/MED-1220.pdf. Published
2015. Accessed January 4, 2021.

Takeuchi A, Ahern TL, Henderson SO. Excited delirium. West J Emerg Med. 2011;12(1):77-
83.

Byard RW. Ongoing issues with the diagnosis of excited delirium. Forensic Sci Med Pathol.
2018;14(2):149-151.

Mash DC. Excited Delirium and Sudden Death: A Syndromal Disorder at the Extreme End of
the Neuropsychiatric Continuum. Front Physiol. 2016;7:435.

Gonin P, Beysard N, Yersin B, Carron PN. Excited Delirium: A Systematic Review. Academic
emergency medicine : official journal of the Society for Academic Emergency Medicine.
2018;25(5):552-565.

Baldwin S, Hall C, Blaskovits B, Bennell C, Lawrence C, Semple T. Excited delirium
syndrome (ExDS): Situational factors and risks to officer safety in non-fatal use of force
encounters. Jnt J Law Psychiatry. 2018;60:26-34.

Gill JR. The syndrome of excited delirium. Forensic Sci Med Pathol. 2014;10(2):223-228.
Siddiqi N, House AO, Holmes JD. Occurrence and outcome of delirium in medical in-patients:
a systematic literature review. Age Ageing. 2006;35(4):350-364.

Fong TG, Tulebaev SR, Inouye SK. Delirium in elderly adults: diagnosis, prevention and
treatment. Nat Rev Neurol. 2009;5(4):210-220.

Substance Abuse and Mental Health Service Administration. Results from the 2018 National
Survey on Drug Use and Health: Detailed Tables. Center for Behavioral Health Statistics and
Quality. https://www.samhsa.gov/data/sites/default/files/cbhsq-
reports/NSDUHDetailedTabs2018R2/NSDUHDetailedTabs2018.pdf, Published June 2020.
Accessed January 4, 2021.

Ruttenber AJ, Lawler-Heavner J, Yin M, Wetli CV, Hearn WL, Mash DC. Fatal excited
delirium following cocaine use: epidemiologic findings provide new evidence for mechanisms
of cocaine toxicity. J Forensic Sci. 1997;42(1):25-31.

Ruttenber AJ, McAnally HB, Wetli CV. Cocaine-associated rhabdomyolysis and excited
delirium: different stages of the same syndrome. Am J Forensic Med Pathol. 1999;20(2):120-
127.

Hoffman L. ACEP Recognizes Excited Delirium Syndrome. Emergency Medicine News.
2009;31(10).

Roach B, Echols K, Burnett A. Excited Delirium and the Dual Response. Law Enforcement
Bulletin Provided by FBI Training Division, United States Department of Justice.

https://leb. fbi.gov/articles/featured-articles/excited-delirium-and-the-dual-response-preventing-
in-custody-deaths. Published July 8, 2014. Accessed January 4, 2021.

Ordoobadi A, Kivlehan SM. CE Article: Excited Delirium. EMS World.
https://www.emsworld.com/216063/ce-article-excited-delirium. Published 2017. Accessed
March 16, 2021.

Kitch BB. Out-of-hospital ketamine: review of a ertoniiog trend in patient care. J Am Coll
Emerg Physicians Open. 2020;1(3):183-189.

Budhu J, O’Hare M, Saadi A. How “excited delirium” is misused to justify police brutality.
Brookings Blog Web site. https://www.brookings.edu/blog/how-we-rise/2020/08/10/how-

37.

38.

39.

40.

Al.

42.

43.

44.

45.

46.

47.

48.

49.

50.

51.

52.

53.

54.

55.

CSAPH Rep. 2-JUN-21 -- page 15 of 17

excited-delirium-is-misused-to-justify-police-brutality/. Published August 10, 2020. Accessed
March 15, 2021.

Scaggs TR, Glass DM, Hutchcraft MG, Weir WB. Prehospital Ketamine is a Safe and
Effective Treatment for Excited Delirium in a Community Hospital Based EMS System.
Prehosp Disaster Med. 2016;31(5):563-569.

Burnett AM, Peterson BK, Stellpflug SJ, et al. The association between ketamine given for
prehospital chemical restraint with intubation and hospital admission. Am J Emerg Med.
2015;33(1):76-79.

Linder LM, Ross CA, Weant KA. Ketamine for the Acute Management of Excited Delirium
and Agitation in the Prehospital Setting. Pharmacotherapy. 2018;38(1):139-151.

Scheppke KA, Braghiroli J, Shalaby M, Chait R. Prehospital use of i.m. ketamine for sedation
of violent and agitated patients. West J Emerg Med. 2014;15(7):736-741.

Grant JR, Southall PE, Fowler DR, Mealey J, Thomas EJ, Kinlock TW. Death in custody: a
historical analysis. J Forensic Sci. 2007;52(5):1177-1181.

Hall CA, Kader AS, Danielle McHale AM, Stewart L, Fick GH, Vilke GM. Frequency of signs
of excited delirium syndrome in subjects undergoing police use of force: Descriptive
evaluation of a prospective, consecutive cohort. J Forensic Leg Med. 2013;20(2):102-107.
Ross DL. Factors associated with excited delirium deaths in police custody. Mod Pathol.
1998;11(11):1127-1137.

Strommer EMF, Leith W, Zeegers MP, Freeman MD. The role of restraint in fatal excited
delirium: a research synthesis and pooled analysis. Forensic Sci Med Pathol. 2020;16(4):680-
692.

Isbister GK, Calver LA, Page CB, Stokes B, Bryant JL, Downes MA. Randomized controlled
trial of intramuscular droperidol versus midazolam for violence and acute behavioral
disturbance: the DORM study. Annals of emergency medicine. 2010;56(4):392-401.¢391.
Macht M, Mull AC, McVaney KE, et al. Comparison of droperidol and haloperidol for use by
paramedics: assessment of safety and effectiveness. Prehosp Emerg Care. 2014;18(3):375-380.
Martel M, Sterzinger A, Miner J, Clinton J, Biros M. Management of acute undifferentiated
agitation in the emergency department: a randomized double-blind trial of droperidol,
ziprasidone, and midazolam. Academic emergency medicine : official journal of the Society for
Academic Emergency Medicine. 2005;12(12):1167-1172.

Cole JB, Moore JC, Nystrom PC, et al. A prospective study of ketamine versus haloperidol for
severe prehospital agitation. Clinical toxicology (Philadelphia, Pa). 2016;54(7):556-562.
Wilson MP, MacDonald K, Vilke GM, Feifel D. A comparison of the safety of olanzapine and
haloperidol in combination with benzodiazepines in emergency department patients with acute
agitation. The Journal of emergency medicine. 2012;43(5):790-797.

Muir-Cochrane E, Oster C, Gerace A, Dawson S, Damarell R, Grimmer K. The effectiveness
of chemical restraint in managing acute agitation and aggression: A systematic review of
randomized controlled trials. Int J Ment Health Nurs. 2020;29(2):110-126.

Olives TD, Nystrom PC, Cole JB, Dodd KW, Ho JD. Intubation of Profoundly Agitated
Patients Treated with Prehospital Ketamine. Prehosp Disaster Med. 2016;31(6):593-602.
Buckland DM, Crowe RP, Cash RE, et al. Ketamine in the Prehospital Environment: A
National Survey of Paramedics in the United States. Prehosp Disaster Med. 2018;33(1):23-28.
Ho JD, Smith SW, Nystrom PC, et al. Successful management of excited delirium syndrome
with prehospital ketamine: two case examples. Prehosp Emerg Care. 2013;17(2):274-279.
Mankowitz SL, Regenberg P, Kaldan J, Cole JB. Ketamine for Rapid Sedation of Agitated
Patients in the Prehospital and Emergency Department Settings: A Systematic Review and
Proportional Meta-Analysis. The “ournal of emergency medicine. 2018;55(5):670-68 1.

Mo H, Campbell MJ, Fertel BS, et al. Ketamine Safety and Use in the Emergency Department
for Pain and Agitation/Delirium: A Health System Experience. West J Emerg Med.
2020;21(2):272-281.

56.

57.

58.

59.

60.

61.

62.

63.

64.

65.

66.

67.

68.

69.

70.

71.

72.

733

74,

CSAPH Rep. 2-JUN-21 -- page 16 of 17

Hopper AB, Vilke GM, Castillo EM, Campillo A, Davie T, Wilson MP. Ketamine use for
acute agitation in the emergency department. The Journal of emergency medicine.
2015;48(6):712-719.

City of Minneapolis. MPD Involvement in Pre-Hospital Sedation.
http://www2.minneapolismn.gov/www/groups/public/@civilrights/documents/webcontent/we
msp-212775.pdf. Published July 26, 2018. Accessed January 4, 2021.

Smith J, Costello M, Villasenor R. Investigation Report and Recommendations: City of
Aurora Colorado, Pursuant to a City Council Resolution Approved July 20, 2020.
https://www.auroragov.org/UserFiles/Servers/Server 1881137/File/News%20Items/Investigati
on%20Report%20and%20Recommendations%20(FINAL).pdf. Published February 22, 2021.
Accessed February 23, 2021.

Strote J, Walsh M, Auerbach D, Burns T, Maher P. Medical conditions and restraint in patients
experiencing excited delirium. 4m J Emerg Med. 2014;32(9):1093-1096.

Sullivan N, Chen C, Siegel R, et al. Ketamine for emergency sedation of agitated patients: A
systematic review and meta-analysis. Am J Emerg Med. 2020;38(3):655-661.

Zanos P, Moaddel R, Morris PJ, et al. Ketamine and Ketamine Metabolite Pharmacology:
Insights into Therapeutic Mechanisms. Pharmacological reviews. 2018;70(3):621-660.
Riddell J, Tran A, Bengiamin R, Hendey GW, Armenian P. Ketamine as a first-line treatment
for severely agitated emergency department patients. Am J Emerg Med. 2017;35(7):1000-1004.
Kunz SN, bérdardottir S, Jonasson JG. Arrest-related.death on the basis of a drug-induced
excited delirium syndrome. J Forensic Leg Med. 2020;77:102091.

Otahbachi M, Cevik C, Bagdure S, Nugent K. Excited delirium, restraints, and unexpected
death: a review of pathogenesis. Am J Forensic Med Pathol. 2010;31(2):107-112.

O'Connor L, Rebesco M, Robinson C, et al. Outcomes of Prehospital Chemical Sedation With
Ketamine Versus Haloperidol and Benzodiazepine or Physical Restraint Only. Prehosp Emerg
Care. 2019;23(2):201-209.

Parks DJ, Alter SM, Shih RD, Solano JJ, Hughes PG, Clayton LM. Rescue Intubation in the
Emergency Department After Prehospital Ketamine Administration for Agitation. Prehosp
Disaster Med. 2020;35(6):65 1-655.

Allam S, Noble JS. Cocaine-excited delirium and severe acidosis. Anaesthesia.
2001;56(4):385-386.

Steenblock D. Treatment of Behavior Disturbances with Ketamine in a Patient Diagnosed with
Major Neurocognitive Disorder. Am J Geriatr Psychiatry. 2018;26(6):71 1-714.

Stratton SJ, Rogers C, Brickett K, Gruzinski G. Factors associated with sudden death of
individuals requiring restraint for excited delirium. Am J Emerg Med. 2001;19(3):187-191.
Substance Abuse and Mental Health Service Administration. Crisis Intervention Team (CIT)
Methods for Using Data to Inform Practice: A Step-by-Step Guide.
https://store.samhsa.gov/sites/default/files/d7/priv/smal 8-5065.pdf. Published 2018. Accessed
March 30, 2021.

Franz S, Borum R. Crisis Intervention Teams may prevent arrests of people with mental
illnesses. Police Practice and Research. 2011;12(3):265-272.

Broner N, Lattimore PK, Cowell AJ, Schlenger WE. Effects of diversion on adults with co-
occurring mental illness and substance use: outcomes from a national multi-site study. Behav
Sci Law. 2004;22(4):519-541.

National Alliance on Mental Illness. Crisis Intervention Team (CIT) Programs.
https://nami.org/Advocacy/Crisis-Intervention/Crisis-Intervention-Team-(CIT)-Programs.
Published 2021. AccessedMarch 30, 2021.

Watson AC, Compton MT. What Research on Crisis Intervention Teams Tells Us and|What
We Need To Ask. Journal of the American Academy of Psychiatry and the Law Online.
2019:JAAPL.003894-003819.

75.

76.

77,

78.

79,

80.

81.

82.

83.

84.

85.

86.

CSAPH Rep. 2-JUN-21 -- page 17 of 17

Substance Abuse and Mental Health Service Administration. National Guidelines for
Behavioral Health Crisis Care Best Practice Toolkit.

https://www.samhsa. gov/sites/default/files/national-guidelines-for-behavioral-health-crisis-
care-02242020.pdf. Published 2020. Accessed March 30, 2021.

CIT International. CIT International's Guide to Best Practices in Mental Health Crisis
Response. https://www.citinternational.org/bestpracticeguide. Published 2021. Accessed March
30, 2021.

Bratina MP, Carsello JA, Carrero KM, Antonio ME. An Examination of Crisis Intervention
Teams in Rural Jurisdictions. Community Ment Health J. 2021.

Sachs D. In the first six months of health care professionals replacing police officers, no one
they encountered was arrested. Denverite. https://denverite.com/202 1/02/02/in-the-first-six-
months-of-health-care-professionals-replacing-police-officers-no-one-they-encountered-was-
arrested/. Published February 2, 2021. Accessed March 30, 2021.

STAR PRogram Evaluation. https://wp-denverite.s3.amazonaws.com/wp-
content/uploads/sites/4/2021/02/STAR_ Pilot 6 Month Evaluation FINAL-REPORT.pdf.
Published 2021. Accessed March 30, 2021.

American Psychiatric Association. Position Statement on Concerns About Use of the Term
“Excited Delirium” and Appropriate Medical Management in Out-of-Hospital Contexts.
November 2020.

ACEP Excited Delirium Task Force. White Paper Report on Excited Delirium Syndrome.
https://Awww.acep.org/globalassets/uploads/uploaded-files/acep/clinical-and-practice-
management/ems-and-disaster-preparedness/ems-resources/acep-excited-delirium-white-paper-
final-form.pdf. Published September 10, 2009. Accessed March 18, 2021.

American Society of Anesthesiologists and American College of Emergency Physicians.
ASA/ACEP Joint Statement on the Safe Use of Ketamine in Prehospital Care.
https://www.asahq.org/about-asa/newsroom/news-releases/2020/08/asa-acep-joint-statement-
on-the-safe-use-of-ketamine-in-prehospital-care. Published 2020. Accessed January 4, 2021.
American College of Medical Toxicology. Case Summary: Walking a Tightrope — Intoxication
and Agitated Delirium FAQs. https://www.acmt.net/October_2020 FAQ.html. Published 2020.
Accessed January 4, 2021.

American College of Medical Toxicology. ACMT Statement on Ketamine Sedation and Law
Enforcement.

https://www.acmt.net/cgi/page.cgi/_zine.html/The ACMT_ Connection/Statement_on Ketami
ne Sedation _and_ Law Enforcement. Published 2020. Accessed March 16, 2021, 2021.
American College of Medical Toxicology. Addiction Toxicology Case Conference, October 2.
https://www.acmt.net/_Library/2020_Webinar/ACMT-ASAM-

ORN_ Addiction Tox Presentation Slides 10 02 2020.pdf. Published 2020. Accessed
January 4, 2021, 2020.

The National Association of EMS Physicians. Patient Restraint in Emergency Medical Services
https://naemsp.org/NAEMSP/media/NAEMSP-Documents/Restraint-position-statement-
Approved-Version-for-PEC.pdf. Published 2016. Accessed March 16, 2021.

